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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION
                                                   X
JOHN SABAL,                                         :
                                                    :     No. 4:23-cv-01002-O
                             Plaintiff,             :
                                                    :
               - against -                          :
                                                    :
ANTI-DEFAMATION LEAGUE,                             :
                                                    :
                             Defendant.             :
                                                    :
                                                    :
                                                    :
                                                   X


   DEFENDANT’S REPLY IN FURTHER SUPPORT OF ITS MOTION TO AMEND
    DECEMBER 13, 2024 ORDER FOR CERTIFICATION UNDER RULE 1292(B)
       AND FOR A STAY PENDING THE RESOLUTION OF ANY APPEAL

       The Fifth Circuit’s most recent decision summarizing the grounds for interlocutory

review, cited at length in Plaintiff’s Opposition, succinctly demonstrates why the exercise of this

Court’s discretion to certify its December 13, 2024 summary judgment Order (ECF No. 63) is

appropriate. See Silverthorne Seismic, L.L.C. v. Sterling Seismic Services, Limited, 125 F.4th

593 (5th Cir 2025). In Silverthorne, the court reiterated that “‘[a] controlling question of law

must be one of law—not fact—and its resolution must materially affect the outcome of litigation

in the district court.’ That effect must be ‘immediate’ and cannot depend on a party’s ability to

prove additional facts.” Id. at 598 (citation omitted). Specifically, interlocutory review can

“materially impact an action” where its outcome can “terminat[e] [it] in the district court.” Id.

(first alteration added). Consistent with those standards, proper § 1292(b) appeals usually “come

from dismissal or summary judgment.” Id. at 599. In Silverthorne, the Circuit declined review

because any resolution of the question presented would merely have affected the scope of

damages, not liability. That is not so here.
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       Plaintiff’s Response does not meaningfully dispute that the third prong of the three-part

test for interlocutory review is met here, in that the resolution of the issues presented in the

Motion could terminate the case. Rather, his Opposition focuses on the first two prongs of the

test, especially the second – whether there is substantial ground for differences of opinion. With

respect to those elements of the test, Plaintiff’s arguments often misstate the issues actually

raised by Defendant. As set forth below, when properly construed the issues presented here

comfortably fit all the applicable criteria for immediate review.

       A.      THE PUBLIC CONTROVERSY LEGAL STANDARD

       According to Plaintiff, with respect to this issue Defendant “admits that the governing

legal standard is not in question.” Resp. at 6. That is simply not so. To the contrary, Defendant

argued that certification is appropriate as it “would enable the Fifth Circuit [to] clarify the

standard for what constitutes a public controversy, because that would provide substantial

guidance for subsequent cases.” Mot. at 7-8. It is well-established that seeking clarification of a

legal standard is the kind of “question of law” that is appropriate for immediate review. See,

e.g., United States ex. rel. Ramadoss v. Caremark, Inc., 2009 WL 10670467, *2 (W.D. Tex.,

Oct. 2, 2009) (certifying for review “the legal question whether the [district court’s] Orders

properly construe and apply” the applicable “legal standard”); Southern United States Trade

Ass’n v. Unidentified Parties, 2011 WL 2790182, *3 (E.D. La. July 14, 2011) (“If the application

of the same legal standard to similar facts has led to divergent outcomes, then the legal standard

may have to be further refined or clarified.”).

       In fact, Plaintiff’s own formulation of a potential standard – whether and how a court

must consider potential “public controversies outside of the factual contours of the alleged

defamation” – is precisely what Defendant submits warrants clarification from the Circuit. Resp.




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at 9 (emphasis added). All of the ADL publications at issue in this case are about QAnon, either

in whole or in part. Most importantly, each publication’s discussion of Plaintiff is entirely about

his prominent role in that movement, including what ADL believes is the tendency of some of its

most influential advocates to embrace antisemitic and other extremist ideas.

       Plaintiff alleged those publications defamed him because they stated that he peddles

antisemitism and allegedly implied that he is a dangerous extremist. Dec. 13, 2024 Order at 8.

By defining the relevant controversies as confined to antisemitism and extremism – either

defined narrowly as “ADL’s specific statements” about Sabal, or broadly as “antisemitism” and

“extremism” in general – the Court limited the potentially relevant controversies to “the factual

contours of the alleged defamation.” Planet Aid, Inc. v. Reveal, 44 F.4th 918, 928 n.4 (9th Cir.

2022). As a result, the Court held that the public controversy ADL was actually discussing in its

publications – “QAnon, the ideas [including ideas rooted in antisemitism] associated with it, and

the impact it has had on the political direction of the country,” Def.’s Br. ISO MSJ at 43-44 –

was “extraneous” to the public figure issue. Dec. 13, 2024 Order at 8. Put another way, if

Plaintiff had included QAnon in his formulation of “the factual contours of the alleged

defamation” – for example, by alleging that it was false for ADL to call him extremist or

antisemitic because the QAnon ideology he espouses is not dangerous, extreme, or linked to any

antisemitism – the same construction of the “public controversy” standard could at least arguably

produce a different outcome. Clarifying the standard would therefore likely impact future cases

as well, since the determination of a plaintiff’s public figure status could be affected or even

determined by how the alleged defamation is pled at the outset.

       Similarly, Plaintiff’s Response merely reinforces why there is substantial ground for

difference of opinion about how to interpret the public controversy test. Plaintiff argues that all




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the cases cited by ADL are distinguishable because they involved pre-existing public

controversies and/or because some of those courts also considered both narrow and broader

controversies. Resp. at 7-9. However, both points beg the question presented here, which is

what the legal criteria for a “public controversy” are in the first place. In this case, limiting the

scope of any potential controversy to the factual contours of alleged “antisemitism” and

“extremism” produced the conclusion that there were no relevant, pre-existing controversies of

any kind in which Plaintiff played a role. With respect to that point, for all the reasons discussed

in Defendants’ opening brief there are many cases that show there are substantial grounds for

difference of opinion. See, e.g., WFAA-TV, Inc. v. McLemore, 978 S.W.2d 568 (Tex. 1998);

Planet Aid, Inc. v. Reveal, 44 F.4th 918, 928 n.4 (9th Cir. 2022) (“The preexisting public

controversy need not be narrowly defined or limited to the exact factual contours of the alleged

defamation.”); Immanuel v. Cable News Network, Inc., 618 F. Supp. 3d 557, 566 (S.D. Tex.

2022) (all cited in Mot. at 7).

        B. WHETHER A HYPERLINK IS A REPUBLICATION

        With respect to this certifiable question, Plaintiff headlines his Response with the

assertion that “[t]he Fifth Circuit has a set standard for district courts to determine whether a

hyperlink is a republication.” Resp. at 12. That is simply not so. Neither the Fifth Circuit nor

Texas state courts have ever addressed that question, and Plaintiff cites no authority to support

his assertion. Instead, Plaintiff points solely to the same federal district court cases this Court

relied on, Wiswell v. Verticalscope, Inc., 2011 WL 13324271 (W.D. Tex. Oct. 3, 2011). But

Wiswell itself acknowledged that it was disagreeing with the existing “the trend [] towards a

relatively bright-line rule that hyperlinks do not constitute republication … .” Id. at *2. And in




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the decade since Wiswell, most other courts that considered the question have endorsed the

“bright-line rule” that Wiswell and this Court’s December 13 Order rejected.

        Plaintiff’s attempts to distinguish those cases merely reinforce both why the hyperlink

issue presents a controlling question of law and why there are substantial grounds for differences

of opinion. As Plaintiff acknowledges, Lokhova v. Halper held that where an article includes a

hyperlink to another article on the same website, that link does not constitute a republication as a

matter of law because it merely “serve[s] as a reference for the [publisher’s] existing audience.”

Lokhova v. Halper, 995 F.3d 134, 143 (4th Cir. 2021). There is no question of fact implicated by

that holding, and indeed the Fourth Circuit held that “Appellant’s attempt to rely on a factual

dispute regarding whether the hyperlink constitutes republication fails.” Id. at 143-44. That is

precisely the scenario here – both the Texas Report and the Glossary of Extremism reside on the

same ADL website. In re Philadelphia Newspapers, LLC, 690 F.3d 161, 174 (3d Cir. 2012), as

corrected (Oct. 25, 2012) (collecting cases), and Martin v. Daily News L.P., 121 A.D.3d 90, 103,

990 N.Y.S.2d 473 (2014) (“continuous access to an article posted via hyperlinks to a website is

not a republication”), reached the same conclusion. In short, whether or not ADL’s hyperlink

could ever constitute a republication presents a classic question of law, about which there are

substantial grounds for different views. Given how frequently this question arises in the digital

age, there would be significant value in having the Fifth Circuit consider what would be an issue

of first impression for it.

        C.       EXTREMISM AND THE OPINION/DEFAMATORY IMPLICATION
                 DOCTRINES

        Plaintiff acknowledges that whether the allegedly defamatory publications constitute

opinion is a question of law, but argues that there is no substantial ground for differences of

opinion regarding the Court’s ruling. Resp. at 9-10. Plaintiff largely argues that “the ADL’s



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statements were not a simple isolated ‘Sabal is an extremist’ opinion made in a vacuum on a

casual tweet,” in contrast to other cases which he suggests merely held abstract, isolated

accusations of “extremism” to be non-actionable opinion. Id. at 11. In reality, few, if any cases

concern purely abstract statements made in a vacuum, including the cases Plaintiff attempts to

distinguish. For example, Lewis v. Abramson, 673 F. Supp. 3d 72 (D.N.H. 2023), involved

accusations of “militant extremism” made in the context of a lengthy journalistic article, which

the plaintiff alleged also implied accusations of criminal conduct. McLanahan v. Anti-

Defamation League, No. 23-5076-CV-SW-JAM, 2023 WL 8704258 (W.D. Mo. Dec. 15, 2023),

not only involved another ADL article, the plaintiff there likewise alleged the article implied his

association with other violent extremists, such as the Ku Klux Klan and neo-Nazis. Those courts

nonetheless held accusations of extremism to be opinion, and thus reinforce why there are

substantial grounds for differences of opinion regarding this question of law. Finally, as these

cases also demonstrate, the same conclusion applies to this Court’s ruling that the publications at

issue can support the alleged defamatory implication, which the parties agree presents another

threshold question of law. See, e.g., Odle v. Wal-Mart Stores Inc., No. 3:11-cv-2954-O, 2013

WL 66035, at *3 (N.D. Tex. Jan. 7, 2013) (O’Connor, J.) (finding “substantial ground for

difference of opinion” where courts had ruled differently on the import of Supreme Court

precedent on subsequent cases).

                                         *       *       *

       Last, Plaintiff argues that if the Fifth Circuit were to affirm its summary judgment Order

upon interlocutory review, the net effect could be to prolong the duration of the case. Resp. at

15. That might be so, but the same may be true anytime a party seeks review of any




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interlocutory order, especially a summary judgment order. If that possibility was sufficient to

deny certification, then interlocutory review of summary judgment orders would be barred.

       The law, however, is to the contrary. As the Circuit recently emphasized, while the

standard for review is strict, summary judgment orders are more likely to qualify than other

interlocutory rulings. Silverthorne, 125 F.4th at 598. That is because the third prong of the test

is whether immediate review could make a trial unnecessary in the first instance, if the outcome

of an appeal may “terminat[e] [the lawsuit] in the district court.” Id. (alterations added). There

is no dispute that standard is met here – the Court dismissed Plaintiff’s defamation claim

regarding antisemitism on the basis of substantial truth, and should the Circuit reverse on his

remaining theory that would resolve the case. Nor does Plaintiff argue that it would be

inappropriate to stay this case if this Court were to grant this Motion, including because the

Court would likely not have jurisdiction to conduct a trial on the same issues during the

pendency of any appeal. See Mot. at 10.

                                         CONCLUSION

       For the foregoing reasons and the reasons set forth in its opening brief, Defendant

respectfully requests that the Court grant its Motion for Rule 1292(b) Certification, amend its

December 13, 2024 Order to certify it for interlocutory appeal, and grant a stay of these

proceedings pending the resolution of any appeal.


Dated: February 6, 2025                       Respectfully submitted,

                                              /s/ Nathan Siegel
                                              Nathan Siegel (admitted pro hac vice)
                                              DAVIS WRIGHT TREMAINE LLP
                                              1301 K Street
                                              Suite 500 East
                                              Washington, DC 20005
                                              Phone: (202) 973-4237


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                                     Fax: (202) 973-4499
                                     nathansiegel@dwt.com

                                     Katherine M. Bolger (admitted pro hac vice)
                                     Jesse Feitel (admitted pro hac vice)
                                     DAVIS WRIGHT TREMAINE LLP
                                     1251 Avenue of the Americas, 21st Floor
                                     New York, NY 10020-1104
                                     Phone: (212) 489-8230
                                     Fax: (212) 489-8340
                                     katebolger@dwt.com
                                     jessefeitel@dwt.com

                                     Robert P. Latham State Bar No. 11975500
                                     JACKSON WALKER LLP
                                     2323 Ross Avenue, Suite 600
                                     Dallas, Texas 75201
                                     (214) 953-6000 – Telephone
                                     (214) 953-5822 – Facsimile
                                     blatham@jw.com

                                     Trevor Paul State Bar No. 24133388
                                     JACKSON WALKER LLP
                                     777 Main St., Suite 2100
                                     Fort Worth, Texas 76102
                                     817.334.7200 – Telephone
                                     (214) 953-5822 – Facsimile
                                     tpaul@jw.com


                                     Attorneys for Defendant Anti-Defamation League




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above document has been served on all

counsel of record, via the Court’s CM/ECF system, in accordance with the Federal Rules of Civil

Procedure, on this 6th day of February, 2025.


                                                                 /s/ Nathan Siegel
                                                                 Nathan Siegel




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